   Case 0:21-cv-60125-RNS Document 202 Entered on FLSD Docket 08/22/2023 Page 1 of 22




                                              UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF FLORIDA

                                         CASE NO. 21-60125-CIV-SCOLA/GOODMAN

         JIANGMEN BENLIDA PRINTED
         CIRCUIT CO., LTD.,

         Plaintiff,

         v.

         CIRCUITRONIX LLC,

         Defendant.
         ____________________________________/




                               CIRCUITRONIX, LLC’S RESPONSE IN OPPOSITION TO
                                        BENLIDA’S MOTION IN LIMINE




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   Case 0:21-cv-60125-RNS Document 202 Entered on FLSD Docket 08/22/2023 Page 2 of 22




                   Circuitronix, LLC (“CTX”) opposes Benlida’s motion to exclude (1) testimony from

         Professor Wei Cui, CTX’s expert on Chinese tax, customs, and trade-credit regulations, as well

         questioning to elicit testimony from lay witnesses regarding Benlida’s compliance with these

         regulations, and (2) evidence regarding Benlida’s trade-credit insurer, China Export & Credit

         Insurance Corporation (“Sinosure”). DE 196 (“Motion”). Because the evidence and testimony

         Benlida seeks to preclude is materially relevant to Circuitronix’s counterclaim and defenses, the

         Court should deny Benlida’s Motion.

                 I.      Testimony Regarding Benlida’s Regulatory Obligations in China Should Be
                         Admitted

                   Benlida argues that Professor Cui’s opinions and related witness testimony regarding

         Benlida’s regulatory obligations in China have “no bearing on the matters at issue in this case.”

         Mot. at 2. Despite that assurance, this testimony provides a valuable backdrop for a jury to

         understand Benlida’s conduct towards CTX through the course of the parties’ business

         relationship. Specifically, it helps make sense of why Benlida might have occasionally requested

         that CTX direct payments that it owed to Benlida to Benlida’s affiliate, ROK Printed Circuit Co.,

         Ltd. (“ROK”), instead.

                      Testimony that helps to explain Benlida’s behavior, including those payments to ROK, is

         undeniably relevant to CTX’s counterclaim and affirmative defenses. Indeed, one component of

         CTX’s claimed damages is based on Benlida’s failure to credit CTX for payments that Benlida

         requested CTX pay to ROK. See DE 198-2 (CTX’s Rule 26(a)(1) Supp’l Disclosure of June 26,

         2023) at 2. The issue of CTX’s regulatory obligations and compliance in China thus is not

         “collateral” to but enmeshed with the issues in the lawsuit. Neither Rule 608 nor Rule 403 bar

         introduction of Professor Cui’s testimony or CTX’s questioning of lay witnesses about Benlida’s

         regulatory obligations and compliance. Finally, even if reference to Benlida’s compliance status


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   Case 0:21-cv-60125-RNS Document 202 Entered on FLSD Docket 08/22/2023 Page 3 of 22




         in China causes some prejudice to Benlida in the eyes of jurors, any prejudice is outweighed by

         the importance of such testimony to CTX’s counterclaim and can be properly managed with a

         limiting instruction from the Court.

                   A. The testimony of a Chinese regulatory law expert regarding the Chinese legal
                      environment in which Benlida operated is relevant to CTX’s counterclaim and
                      affirmative defenses

                   CTX intends to use Professor Cui as a foreign law expert whose testimony is important to

         set the scene in which the parties’ business dispute arose. As a Chinese company exporting

         goods to a foreign (U.S.) company, Benlida is subject to Chinese regulatory oversight. See DE

         196-1 (Cui Report). During the course of the parties’ business relationship, Benlida periodically

         invoked concerns about compliance with Chinese law to justify certain conduct, as discussed

         more specifically below. To even the playing field at trial, CTX retained a Chinese law expert,

         Professor Cui, who can set the background for the jury and explain a few principles of Chinese

         foreign exchange regulations that underlie the parties’ business dealings. 1 For all Benlida’s

         protestation about potential testimony from Professor Cui regarding whether Benlida was

         sanctionable for violating Chinese law, Professor Cui’s report makes clear that he “merely

         identifies some features of the Chinese regulatory framework in light of which [Benlida’s]

         conduct may be assessed” and that he does not “reach any conclusions regarding BLD’s

         compliance (or lack thereof) with such framework.” 2 DE 196-1 at 2.

                   Professor Cui will discuss two general requirements of Chinese law that help to

         contextualize Benlida’s conduct toward CTX, and specifically, its instruction that CTX pay ROK


         1
           The fact that the parties’ contract is governed by Florida law has no bearing on these issues.
         Benlida’s assertion to the contrary (Mot. at 4-5) is simply off-point. Regardless of the law
         governing the parties’ contract, Chinese law has also influenced Benlida’s conduct, as Professor
         Cui explains.
         2
           Benlida is forced to speculate about Professor Cui’s potential testimony because it elected not
         to take his deposition and confirm the contours of his expert opinions.

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   Case 0:21-cv-60125-RNS Document 202 Entered on FLSD Docket 08/22/2023 Page 4 of 22




         money that was in fact owed to Benlida: (1) that a legal exporter of goods should be the recipient

         of foreign currency payments for that export, and (2) that exporters which receive such foreign

         currency payments must make timely reports of the receipt or extension of trade credit (e.g.,

         through deferred payments, advance payments, or other transactions). See DE 196-1 at 2-3.

         Using an expert to testify about international law or practice is acceptable where the testimony

         provides important background to certain issues. See, e.g., United States v. Ali, 799 F.3d 1008,

         1014-15 (8th Cir. 2015) (affirming defendant’s conviction in connection with sending funds to

         Somalian organization designated as a foreign terrorist organization; describing foreign law expert

         testimony about history of Somalia, organization’s role and goal to impose Islamic law in Somalia,

         and organization’s connections with al Qaeda); United States v. Young, 916 F.3d 368, 381 (4th

         Cir. 2019) (finding testimony of expert witness regarding convergence between Islamist and Nazi

         ideologies was relevant because it assisted the jury by providing context for the historical

         backgrounds of and connection between Nazism and militant Islamism and would assist the jury

         in understanding evidence of predisposition).

                   Professor Cui’s testimony is relevant under Rule 401 because “it has … [a] tendency to

         make a fact more or less probable than it would be without the evidence” and “the fact is of

         consequence in determining the action.” Fed. R. Evid. 401. As Professor Cui explains, Chinese

         regulations require that foreign currency payments be received by whichever of Benlida or ROK

         actually exported the goods paid for. Benlida’s desire to comply or reflect compliance with this

         requirement likely informed its request to CTX that it divert certain payments owed to Benlida to

         ROK instead. Moreover, these unorthodox requests could have affected Benlida’s recording of

         those payments, helping to explain why Benlida’s accounting books don’t agree with CTX’s.




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   Case 0:21-cv-60125-RNS Document 202 Entered on FLSD Docket 08/22/2023 Page 5 of 22




                   Relatedly, regarding the second regulatory principle Professor Cui addresses, Benlida’s

         desire to comply with reporting requirements regarding receipt or extension of trade credit—and

         to avoid adverse administrative action like the monetary penalties or compliance-status

         downgrade discussed in Professor Cui’s report, DE 196-1 at 3—would necessarily affect

         Benlida’s bookkeeping, which could in turn illuminate how and why Benlida “failed to properly

         credit” payments or “made demands for prepayments, advance payments, and payment

         premiums” (see DE 34 (Counterclaim) at ¶ 39.c-d). By helping a jury understand party

         communications and Benlida’s bookkeeping concerning CTX—particularly with respect to the

         payment-to-ROK instruction—Professor Cui’s testimony will help a jury determine whether

         CTX overpaid Benlida and whether Benlida properly requested, and credited, those payments.

                   Without Professor Cui’s explanation of the regulatory framework to fill the gap many

         jurors may miss the connection between Benlida’s references to a particular regulatory body and

         its related requests for wires to ROK. For instance, in one email cited by Professor Cui,

         Benlida’s Sales Director, Huang Sulan (“Tracy”), informed CTX that Benlida had received a

         “formal notice from [the] tax department” advising that “ROK is now [o]n [the] blacklist” due to

         a foreign exchange gap issue. See Exhibit 1 (CTX_2070). She suggested that “CTX must only

         wire to [the] ROK account” for money owed to “both Benlida and ROK” to resolve the issue and

         provided options for how to resolve the gap given the “CTX wire amount is bigger than [the]

         payable amount.” Id. She also said that Benlida “will write a report to [the] tax department to

         explain” the situation and admitted that “[s]ince we cannot explain … we have to make up some

         other reasons.” Id. In another email, Ms. Huang referenced a “formal notice from [the] tax

         department” and stated that “to resolve ROK foreign exchange gap in tax department, we need to

         do some wire transfers.” See Exhibit 2 (CTX_3495-96) at 1 (email from tracy@benlida.com on



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   Case 0:21-cv-60125-RNS Document 202 Entered on FLSD Docket 08/22/2023 Page 6 of 22




         2017-04-13 at 15:07). She then outlined similar proposals about how to structure payments in

         order to help Benlida avoid unnecessary fees or penalties. Id.

                   Professor Cui’s testimony regarding Chinese regulations about reporting requirements

         and the proper export/receipt of foreign currency payments will help the jury understand why

         Benlida might reference issues with the tax authority and payments to ROK in the same breath.

         That understanding supports the aspect of CTX’s claim for damages based on uncredited

         payments Benlida asked it to send to ROK. Professor Cui’s testimony thus will help the jury

         contextualize and decipher the significance of Benlida’s instructions, thereby making their

         delivery more probable in the eyes of a jury. The fact that Benlida made those instructions—and

         that CTX paid ROK as instructed but never received credit for those payments with Benlida—is

         of consequence for determining that aspect of CTX’s claimed damages. See DE 198-2 (CTX’s

         Rule 26(a)(1) Supplemental Disclosure of June 26, 2023) at 2.

                   More broadly, CTX’s counterclaim, and indeed some of its affirmative defenses, assert

         that Benlida “has not properly credited payments made by [CTX]” and that “CTX maintains a

         significant credit balance due to overpayments that have accumulated over the course of the

         companies’ relationship.” DE 34 (Affirmative Defenses) at ¶ 1; see also, e.g., id. at ¶ 2,

         (Counterclaim) at ¶¶ 5, 37-40. Because understanding how and why those instructions were

         made and payments were recorded will directly affect a jury’s ability to assess affirmative

         defenses and CTX’s claim for damages, Professor Cui’s testimony is relevant and admissible.

                   B. Lay testimony about Benlida’s compliance with Chinese regulatory law is
                      appropriate because Benlida invoked that justification to CTX for certain
                      actions and it is relevant to CTX’s counterclaim and affirmative defenses

                   Benlida’s motion also seeks to bar any testimony by lay witnesses about Benlida’s

         compliance with Chinese regulatory law. Mot. at 6-7. As with Professor Cui’s testimony, this

         evidence is relevant to CTX’s counterclaim seeking recovery of money paid to ROK at Benlida’s

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   Case 0:21-cv-60125-RNS Document 202 Entered on FLSD Docket 08/22/2023 Page 7 of 22




         direction as well as its affirmative defense that CTX has made payments to ROK which Benlida

         “has not properly credited.” DE 34 (Affirmative Defenses) at ¶ 1; see also id. ¶ 5 (waiver).

                   Benlida’s witnesses have implicitly acknowledged the relevant connection between

         Chinese regulatory law and Benlida’s accounting practices—the latter of which goes directly to

         Benlida’s basis for claiming that CTX owes Benlida money on supposedly unpaid invoices.

         Benlida’s Sales Director, Tracy Huang, testified at her deposition, for instance, that the Chinese

         tax department requires Benlida to keep separate the accounts receivable for every company

         customer because of foreign exchange regulations and value-added tax calculations. Exhibit 3

         (Tracy Huang Depo. Excerpts) at 34:2-11. Her acknowledgement of this Chinese-law

         requirement, as well as Benlida’s retention of an outside auditor to review separately kept

         company books, undermines Benlida’s explanation that it applied CTX payments to some

         combined version of the CTX and Circuitronix (Hong Kong) Ltd. (“CTX-HK”) account books.

                   Additionally, communications sent by Benlida and its witnesses’ deposition testimony

         and potential trial testimony regarding the company’s regulatory compliance are relevant to

         CTX’s counterclaim for damages based on uncredited CTX payments to ROK. Ms. Huang

         acknowledged at her deposition, for instance (consistent with Professor Cui’s report), that

         Chinese regulations required Benlida “to show a match” in its books between the shipment value

         of exported goods and foreign currency received. Tracy Huang Depo. at 116:4-12; 191:19-

         192:15. And she testified that Benlida requested CTX make certain payments to help balance

         books and that Benlida sometimes had to pay a tax due to gaps in the books. See id. at 117:4-12

         (referencing request to help balance ROK’s books); see also id. at 114:24-120:6 (fuller context);

         118:4-12; 221:10-20. Benlida’s Chief Financial Officer, Wu Yukun (“Roger”), provided similar

         testimony regarding how Benlida’s regulatory obligations in China and its business dealings with



                                                                           6
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   Case 0:21-cv-60125-RNS Document 202 Entered on FLSD Docket 08/22/2023 Page 8 of 22




         CTX sometimes affected each other and Benlida’s compliance status. See, e.g., Exhibit 4 (Roger

         Wu Depo. Excerpts) at 215:20-217:17 (testifying about Benlida’s obligation to report foreign

         currency transactions, the required “match” between product sales to foreign buyers and amount

         of foreign currency received, and how the mismatch in the CTX account caused “trouble” for

         Benlida before the Chinese tax authority).

                   This testimony sheds light on background pressures that may have motivated Benlida to

         request that CTX make certain payments to ROK and to reflect those payments in its books to

         show the requisite “match.” These facts make also it more probable that Benlida resorted to

         unorthodox accounting practices throughout its relationship with CTX, which in turn is material

         to a jury’s evaluation of CTX’s counterclaim and defenses against Benlida’s theory of the case,

         which depends upon the reliability of its accounting practices. Benlida’s regulatory obligations

         in China are plainly distinct from its contractual obligations with CTX, but Ms. Huang’s and Mr.

         Wu’s deposition testimony confirm that the two are deeply intertwined. CTX should not be

         precluded from eliciting testimony that exposes how Benlida’s regulatory concerns about

         compliance translated to its treatment of CTX.

                   C. Rule 608 does not bar admission of testimony regarding Benlida’s regulatory
                      obligations in China

                   Based on the line of cases Benlida cites in support of its argument, its weapon of choice

         against the introduction of evidence regarding its Chinese regulatory obligations and compliance

         status appears to be Rule 608. See Mot. 3-4 (describing courts’ analysis involving Rule 608 and

         regarding evidence to attack witness credibility, citing U.S. v. Hertzberg, 558 F.2d 1219 (5th Cir.

         1977); Torres v. Rock & River Food, Inc., No. 15-22882-civ, 2016 WL 8716674 (S.D. Fla. May

         11, 2016); Puerto v. Moreno, No. 19-25282, 2021 WL 2716201 (S.D. Fla. July 1, 2021)). But

         Rule 608 is a poor choice for this battle.


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   Case 0:21-cv-60125-RNS Document 202 Entered on FLSD Docket 08/22/2023 Page 9 of 22




                   First, the Rule focuses on the admissibility of evidence of credibility and/or truthful

         character, whereas here CTX seeks to introduce testimony regarding Benlida’s regulatory

         obligations primarily to show the regulatory framework’s effect on Benlida’s treatment of CTX,

         not Benlida’s noncompliance or character. Second, Rule 608 speaks to evidence used to impeach

         or challenge a testifying witness’ truthfulness or credibility. It does not address a situation

         where, as here, Benlida seeks to preclude testimony that may speak to Benlida’s (i.e., a corporate

         party’s) general credibility or truthful character, see Mot. 3 (surmising CTX desires to use the

         testimony to “collaterally attack Benlida’s credibility”) (emphasis added). Beyond these

         weaknesses, Rule 608 does not bar evidence of a witness’ credibility (contrary to Benlida’s

         apparent belief (Mot. 3-4)), or of cross-examination regarding a witness’ character for

         truthfulness. 3

                   Rule 608(b) prohibits the use of extrinsic evidence to prove the witness’ character for

         truthfulness, but “‘the absolute prohibition on extrinsic evidence applies only when the sole

         reason for proffering th[e] evidence is to attack or support the witness’[s] character for

         truthfulness.’” United States v. Burnette, 65 F.4th 591, 607 (11th Cir. 2023) (citation omitted;

         alteration in original; court’s emphasis). In other words, to the extent CTX might offer the

         regulation and compliance testimony to address issues of a witness’[s] bias or credibility, Rule

         608(b) would permit it. See id. at 606-07 (noting distinction recognized in United States v. Abel,

         469 U.S. 45, 56 (1984) “between extrinsic evidence presented to demonstrate a witness’s ‘bias,’




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           Although Benlida does not specify, it appears to rely on Rule 608(b) (not Rule 608(a)) as the
         basis for excluding regulatory and compliance testimony. Rule 608(a) governs attacks on a
         witness’ credibility through “testimony about the witness’s reputation for having a character for
         truthfulness or untruthfulness, or by testimony in the form of an opinion about that character.”
         Fed. R. Evid. 608(a).

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  Case 0:21-cv-60125-RNS Document 202 Entered on FLSD Docket 08/22/2023 Page 10 of 22




         which Rule 608(b) permits, and evidence presented to show his lack of ‘veracity,’ which the

         Rule prohibits”).

                   Notably, the Rule generally “does not preclude the use of extrinsic evidence that

         contradicts material testimony.” Bratt v. Genovese, 782 F. App’x 959, 967 (11th Cir. 2019)

         (citing United States v. Calle, 822 F.2d 1016, 1021 (11th Cir. 1987)); see also United States v.

         Wheeler, 16 F.4th 805, 828 (11th Cir. 2021) (explaining that “extrinsic evidence can be ‘offered

         for other grounds of impeachment (such as contradiction, prior inconsistent statement, bias and

         mental capacity)’”) (citing Fed. R. Evid. 608(b), advisory committee's notes to 2003

         amendments).

                   Rule 608 does not present an obstacle to CTX offering Professor Cui as a witness or to

         asking Benlida witnesses about Benlida’s regulatory obligations and compliance in China—so

         long as that evidence does not attack a testifying witness’s character for truthfulness on direct

         examination and so long as the evidence emerges for impeachment or to contradict material facts

         during cross-examination. Regardless, as discussed, CTX intends to use Professor Cui’s

         testimony to contextualize party communications regarding how Benlida’s regulatory obligations

         redounded on CTX, including how and why Benlida was prompted to request that CTX make

         payments. It intends to elicit testimony from Benlida’s witnesses on much the same subject and

         to cross-examine them, as necessary, on these topics based on their direct testimony. There is no

         Rule 608 problem.

                   Benlida’s notion that this testimony veers into “collateral issues” that risk jury confusion

         ignores how evidence of Benlida’s regulatory responsibility here is far more tightly bound to

         CTX’s claims and defenses than the wholly unconnected matters that parties have sought to

         introduce in other cases. In Torres v. Rock & River Food, Inc., No. 15-22882-civ, 2016 WL



                                                                           9
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  Case 0:21-cv-60125-RNS Document 202 Entered on FLSD Docket 08/22/2023 Page 11 of 22




         8716674, at *2-3 (S.D. Fla. May 11, 2016), like in Puerto v. Moreno, No. 19-25282, 2021 WL

         2716201, at *1 (S.D. Fla. July 1, 2021), plaintiffs sought to exclude evidence of their own

         nonpayment of income taxes in Fair Labor Standards Act cases. This Court, rightly, rejected the

         one defendant’s in pari delicto defense in Torres, determining that extrinsic evidence of the

         plaintiffs’ taxpaying record was “in no way connected with the Defendants’ alleged failure to

         properly compensate Plaintiff.” 2016 WL 8716674, at *2. In contrast, as Benlida’s own

         witnesses have implicitly acknowledged, Benlida’s regulatory obligations do bear on its

         bookkeeping practices and payment requests to CTX.

                   D. The probative value of Professor Cui’s and Benlida’s witnesses’ potential
                      testimony is not outweighed by any unfair prejudice

                   Because the probative value of testimony and evidence regarding Benlida’s Chinese

         regulatory obligations outstrips any resulting prejudice to Benlida, Rule 403 does not block

         admission.

                   “[E]xclusion of relevant evidence under Rule 403 is ‘an extraordinary remedy that should

         be used sparingly’ and only after looking at the evidence ‘in the light most favorable to its

         admission.’” Bluestarexpo, Inc. v. Enis, No. 21-20875-CIV, 2022 WL 16835934-

         SCOLA/GOODMAN, at *14 (S.D. Fla. Nov. 9, 2022) (quoting ML Healthcare Servs., LLC v.

         Publix Super Mkts., Inc., 881 F.3d 1293, 1303 (11th Cir. 2018)). “‘[T]he balance should be

         struck in favor of admissibility.’” United States v. Archible, No. 21-14172, 2022 WL 16833770,

         at *2 (11th Cir. Nov. 9, 2022) (quoting United States v. Alfaro-Moncada, 607 F.3d 720, 734

         (11th Cir. 2010)).

                   Exclusion is not appropriate here, contrary to Benlida’s claim that such testimony will

         have a “potentially prejudicial effect and risk of confusing the issues to be tried.” Mot. at 6.

         Presumably, Benlida means to repeat the same criticisms it did under Rule 608, suggesting that


                                                                          10
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  Case 0:21-cv-60125-RNS Document 202 Entered on FLSD Docket 08/22/2023 Page 12 of 22




         such testimony may cast Benlida in a negative light or that it will create a “sideshow about the

         regulatory law of China.” Mot. at 5. As before, neither criticism is well-founded.

                   First, as discussed, this testimony and related evidence is directly relevant to CTX’s

         claimed damages for monies owed to Benlida but paid to ROK at Benlida’s direction. It is also

         relevant to provide jurors with a fuller picture of CTX’s affirmative defenses based on the same

         ROK payments and claims that Benlida did not properly credit CTX payments made to it. The

         mere fact that there might be some prejudice to Benlida by the introduction of such evidence is

         not a basis to exclude it under Rule 403—particularly where CTX’s focus in introducing it is

         primarily intended to explain Benlida’s motivations based on its regulatory concerns and less to

         expose any noncompliance in and of itself. The fact that references to such noncompliance will

         likely be raised in the testimony is not sufficient reason to ignore the relevance and probative

         value of the overall testimony by excluding it. Subjects with far greater potential to unfairly

         prejudice have been permitted. See, e.g., United States v. Springer, 753 F. App’x 821, 828–29

         (11th Cir. 2018) (concluding that “potential prejudicial value of references to [defendant’s] pro-

         ISIS sympathies” did not outweigh “sufficiently countervailing probative value”); United States

         v. Lehder-Rivas, 955 F.2d 1510, 1518 (11th Cir. 1992) (admitting evidence of defendant’s views

         on Hitler and comparisons of his drug trafficking organization with the Third Reich, even though

         it was prejudicial, given probative value in proving motives and demonstrating nature and scope

         of criminal conspiracy). Any prejudice that may flow from evidence about Benlida’s non-

         compliance with Chinese regulatory law is not unfair.

                   Second, and relatedly, far creating a “side show,” focused testimony explaining pertinent

         Chinese regulations and Benlida’s compliance “will help fill in the gaps and paint a more-

         complete picture for the jury” about why Benlida might have credited payments in a particular



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  Case 0:21-cv-60125-RNS Document 202 Entered on FLSD Docket 08/22/2023 Page 13 of 22




         way or directed that payments from CTX be paid to the ROK account. United States v.

         Escalona, No. 22-20423-CR, 2023 WL 3093630, at *4 (S.D. Fla. Apr. 25, 2023). The testimony

         is calculated to help jurors understand how the background factors and regulatory pressures in

         China outside of Benlida’s relationship with CTX may have affected its day-to-day dealings and

         transactions with CTX, and most specifically, that may have prompted it to ask for payments to

         ROK.

                   Finally, any danger of unfair prejudice posed by this testimony can be ameliorated by a

         limiting instruction advising jurors to consider it only for purposes of understanding Benlida’s

         reasons for directing payments to ROK or explaining pressures to record payments and exports

         in a particular way. Archible, 2022 WL 16833770, at *2 (citing United States v. Ramirez, 426

         F.3d 1344, 1354 (11th Cir. 2005)); Springer, 753 F. App’x 821, 829 (11th Cir. 2018) (citing

         Circuit authority for the proposition that the “district court’s limiting instruction mitigated any

         unfair prejudice possibly caused by admission of prior bad act evidence”) (citing United States v.

         Edouard, 485 F.3d 1324, 1346 (11th Cir. 2007)). Likewise, the Court can caution jurors that

         Benlida’s regulatory obligations in China and compliance therewith are distinct from its

         contractual obligations toward CTX. Courts have frequently determined that “[a]ny residual

         prejudicial concern [of prejudice] [can be] ameliorated by the district court’s several admonitions

         to the jury” about its legitimate uses under the Rules of Evidence. United States v. Green, No.

         22-10785, 2023 WL 2883003, at *2 (11th Cir. Apr. 11, 2023) (discussing limiting instruction in

         the context of mitigating potential prejudicial effect of evidence of other acts).

                   Because testimony regarding Benlida’s compliance with regulatory obligations is

         relevant and because neither Rule 608 or Rule 403 prevent its introduction, the Court should

         deny Benlida’s motion.



                                                                          12
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  Case 0:21-cv-60125-RNS Document 202 Entered on FLSD Docket 08/22/2023 Page 14 of 22




               II.      Testimony and Documents Regarding Sinosure and Benlida’s Trade-Credit
                        Insurance Should Be Admitted

                     Evidence concerning Sinosure, Benlida’s trade-credit insurer, is relevant to CTX’s

         counterclaim and defenses. Contrary to Benlida’s arguments, neither Federal Rule of Evidence

         411 nor the collateral source rule provides a valid basis for excluding this evidence.

                     A. Evidence Concerning Sinosure Is Relevant

                     Benlida has maintained trade-credit insurance with Sinosure—also known as Zhong Xin

         Bao—for several years. Exhibit 5 (Huang Xiangjiang Depo. Excerpts) at 91:18-92:6; Tracy

         Huang Depo. at 195:11-16. The insurance covers the risk that Benlida cannot collect money

         owed from its customers. Huang Xiangjiang Depo. at 89:20-90:4. Sinosure establishes

         insurance or credit limits specific to each of Benlida’s customers. Tracy Huang Depo. at 197:1-

         198:14. It therefore established separate limits applicable to CTX and CTX-HK. Id.

                   Benlida submitted two claims to Sinosure for amounts owed by CTX and CTX-HK,

         respectively, in August or September of 2019. Roger Wu Depo. at 198:12-22; Depo. Exs. 80, 81.

         This was the first time that Benlida submitted claims to Sinosure with respect to either

         Circuitronix business. Tracy Huang Depo. at 195:17-196:18. Benlida, however, was required to

         report delinquent accounts to Sinosure within 60 days of the delinquency. Roger Wu Depo. at

         195:23-197:16.

                   Benlida began charging CTX for insurance premiums in April or May of 2019, at

         Sinosure’s direction. Tracy Huang Depo. at 37:18-38:21; Roger Wu Depo. at 90:16-91:8. This

         added an extra three-to-ten percent to Benlida’s invoices. Id.

                   This evidence concerning Benlida’s relationship with Sinsoure is relevant, and thus

         admissible under Federal Rule of Evidence 402, for at least three reasons. First, CTX’s

         counterclaim alleges that the Sinosure-directed insurance premiums tacked on to Benlida’s


                                                                          13
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  Case 0:21-cv-60125-RNS Document 202 Entered on FLSD Docket 08/22/2023 Page 15 of 22




         invoices breached the Manufacturing Agreement and Letter Agreement, neither of which

         permitted Benlida to charge CTX the premiums. DE 34, ¶ 39(d). The amount of the improperly

         charged premiums, totaling approximately $317,539, constitutes a component of the damages

         that CTX seeks to recover under its counterclaim. CTX Supp’l Disclosure at 3.

                   Second, the evidence of Sinosure’s treatment of CTX and CTX-HK as separate and

         distinct entities, together with Benlida’s submission of separate claims for each entity in 2019,

         supports CTX’s defense against Benlida’s effort to hold it responsible for CTX-HK’s alleged

         debts. As Benlida’s witness even concedes, Sinosure established different insurance or credit

         limits for each entity “[b]ecause they are different entities.” Tracy Huang Depo. at 198:21-199:4.

                   Third, the timing and contents of the claims that Benlida submitted to Sinosure in 2019

         call into question the credibility of Benlida’s representations in this case regarding its accounting

         and CTX’s alleged debts. Benlida’s claims that certain invoices to CTX (and CTX-HK) remain

         unpaid rely upon a first-in-first-out accounting method that commingles the debts and payments

         from both CTX and CTX-HK and which is based on millions of dollars of claimed overdue

         payments from CTX-HK that are many years old. Only $1.3 million of the $13.5 million

         Benlida contends CTX-HK owed, and which went into its calculation of its claims, is from 2019;

         some $7 million of the total dates back before 2018, with over $4 million of it dating from

         between 2012-2016. See DE 198 at 10. But Benlida’s failure to submit a claim to Sinosure for

         any alleged CTX debts from 2012 through 2018 contradicts Benlida’s current theory.

                   B. Rule 411 Is Inapplicable

                   Contrary to Benlida’s claims, Federal Rule of Evidence 411 does not apply here. The

         rule provides:

                       Evidence that a person was or was not insured against liability is not
                       admissible to prove whether the person acted negligently or otherwise


                                                                          14
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  Case 0:21-cv-60125-RNS Document 202 Entered on FLSD Docket 08/22/2023 Page 16 of 22




                       wrongfully. But the court may admit this evidence for another purpose, such
                       as proving a witness’s bias or prejudice or proving agency, ownership, or
                       control.

         Fed. R. Evid. 411. As the second sentence of the rule makes clear, “all evidence of insurance

         should not be categorically excluded under Rule 411.” Vargas v. Michaels Stores, Inc., No. 8:16-

         CV-1949-T-33JSS, 2017 WL 3723655, at *2 (M.D. Fla. Aug. 29, 2017). Rather, the prohibition

         set forth in the first sentence of the rule is limited “to insurance that would indemnify a person

         from liability for the injury at issue.” Charles A. Wright & Kenneth W. Graham, Federal Practice

         & Procedure: Evidence § 5363.

                   The Sinosure insurance does not meet the criteria for exclusion under the first sentence of

         Rule 411. It does not insure Benlida “against liability” for anything. Rather, it compensates

         Benlida for the sale of goods when customers fail to pay—it protects Benlida from the risk of

         customer non-payment. Thus, evidence concerning the Sinosure insurance cannot fall within the

         ambit of Rule 411. See Green Const. Co. v. Kansas Power & Light Co., 759 F. Supp. 740, 744

         (D. Kan. 1991), aff ’d, 1 F.3d 1005 (10th Cir. 1993) (admitting evidence concerning insurance in

         a breach of contract action because “the present case does not involve liability insurance”).

                   And regardless of how the Sinosure insurance is characterized, CTX is not pointing to the

         mere fact that Benlida was or was not insured to prove that Benlida “acted negligently or

         otherwise wrongfully,” as the rule requires. Fed. R. Evid. 411. Rather, as discussed in the prior

         section, evidence concerning Benlida’s interaction with Sinosure—not the mere existence of the

         insurance—is probative of: CTX’s damages under its counterclaim; Benlida’s violation of the

         parties’ contracts; the separate and distinct nature of CTX and CTX-HK and Benlida’s awareness

         thereof; and the lack of credibility of Benlida’s claims concerning its accounting method and

         CTX’s alleged debts. These permissible uses of evidence concerning Benlida’s relationship with

         Sinosure steer clear of Rule 411. See Herrera v. 7R Charter Ltd., No. 1:16-CV-24031, 2020 WL

                                                                          15
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  Case 0:21-cv-60125-RNS Document 202 Entered on FLSD Docket 08/22/2023 Page 17 of 22




         8768451, at *12 (S.D. Fla. Oct. 23, 2020), aff’d, No. 21-11766, 2022 WL 42751 (11th Cir. Jan.

         5, 2022) (permitting the introduction of evidence regarding insurance, over a Rule 411 objection,

         because the plaintiff did “not seek to introduce the insurance policy for the purpose of proving

         Defendant’s Captain acted negligently”).

                   Indeed, courts have specifically approved the use of evidence concerning insurance to

         prove damages, as CTX intends to do here. See DSC Commc'ns Corp. v. Next Level Commc’ns,

         929 F. Supp. 239, 247 (E.D. Tex. 1996) (holding that Rule 411 “does not prohibit the use of

         evidence of insurance where it is relevant to the issue of damages or punitive damages”)

         (quotation marks omitted); accord Ferren v. Nat’l R.R. Passenger Corp., No. 00 C 2262, 2001

         WL 1607586, at *9 (N.D. Ill. Dec. 12, 2001) (admitting evidence concerning insurance because

         it was relevant for “establishing [plaintiff’s] alleged damages”). Likewise, courts have overruled

         objections like Benlida’s when details of a party’s relationship with an insurer were relevant to a

         breach of contract claim, as is the case here. Smith v. Summers, 334 F. Supp. 3d 339, 345

         (D.D.C. 2018) (holding that “evidence of the parties’ contractual relationship is relevant and

         admissible under Federal Rule of Evidence 402, and its admission does not violate Rule 411”);

         Eagle Suspensions, Inc. v. Hellmann Worldwide Logistics, Inc., 571 F. App’x 281, 286 (5th Cir.

         2014) (affirming admission of evidence regarding insurance where it was relevant to breach of

         contract claim).

                   The inapplicability of Rule 411 is evident from the glaring absence of relevant authority

         from Benlida’s motion. The only case it cites that even mentions Rule 411 is Jetport, Inc. v.

         Landmark Aviation Miami, LLC, No. 1:16-CV-23303-UU, 2017 WL 7734085, at *1 (S.D. Fla.

         July 26, 2017). But Jetport cannot help Benlida for two reasons. First, both parties agreed in

         Jetport that evidence regarding their insurers should be excluded. Id. at *1. There is no such



                                                                          16
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  Case 0:21-cv-60125-RNS Document 202 Entered on FLSD Docket 08/22/2023 Page 18 of 22




         concession here. Second, the insurance was liability insurance, the case involved competing

         claims of negligence for a collision between aircraft, and the only contemplated purpose of

         mentioning the insurance was to establish a party’s negligence—the precise fact pattern that fits

         within the narrow ambit of Federal Rule of Evidence 411. Id. This case involves none of those

         circumstances, so Jetport and Rule 411 are irrelevant here.

                   C. The Collateral Source Rule Is Inapplicable

                   Benlida’s alternative argument for excluding evidence regarding Sinosure—the collateral

         source rule—fares no better. Because CTX is not seeking to use amounts that Benlida received

         from Sinosure to reduce or offset Benlida’s claimed damages, the collateral source rule does not

         apply here.

                   The collateral source rule generally provides that a plaintiff’s receipt of benefits from a

         source independent of the defendant will not diminish the plaintiff’s recovery of damages from

         the defendant. See ML Healthcare Servs., 881 F.3d at 1298 (“When a tort plaintiff has been

         compensated by her health insurer, or other non-defendants, for injuries that have been caused by

         the defendant, the question arises whether the plaintiff can recover those expenses for which she

         has already been reimbursed. The collateral source rule provides that the plaintiff is entitled to

         recover those already-reimbursed expenses.”). This common law doctrine is considered a

         substantive issue, and thus is governed by state law in a diversity action. See id. at 1299 (“The

         substantive component of the rule, which prohibits the reliance on collateral source payments to

         reduce a plaintiff's damages award, is binding on a federal court sitting in diversity.”). Florida

         law, which applies in this diversity case, recognizes a modified version of the collateral source

         rule. See § 768.76, Fla. Stat. (requiring a court to reduce a damages award by the amount a

         plaintiff receives from certain collateral sources); Joerg v. State Farm Mut. Auto. Ins. Co., 176



                                                                          17
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  Case 0:21-cv-60125-RNS Document 202 Entered on FLSD Docket 08/22/2023 Page 19 of 22




         So. 3d 1247, 1249 (Fla. 2015) (“[T]he Legislature has abrogated the common law damages

         rule.”).

                    The evidentiary consequence of Florida’s collateral source rule, however, is a matter of

         federal law. See ML Healthcare, 881 F.3d at 1299-1301. Under the familiar division set forth in

         Erie R.R. Co. v. Tompkins, 304 U.S. 64, 78 (1938), federal law governs procedural issues, which

         “encompass rules of evidence, and therefore, the Federal Rules of Evidence, not state evidentiary

         rules, apply to evidentiary disputes in a federal diversity action.” ML Healthcare, 881 F.3d at

         1299 (quotation marks omitted). In ML Healthcare, the Eleventh Circuit held that “federal law

         controls” evidentiary decisions related to Georgia’s collateral source rule, because Georgia law

         provides that “[e]vidence concerning the receipt of collateral benefits will likely be inadmissible

         most of the time, but sometimes admission will be proper,” and distinguishing between

         legitimate and improper uses of evidence “is a procedural” decision. Id. at 1301. Florida law is

         no different than Georgia law on this issue, as Florida law also permits the admission of evidence

         concerning the receipt of collateral benefits for certain purposes. Joerg, 176 So. 3d at 1250 n.1.

         Thus, under ML Healthcare, 881 F.3d at 1301-03, the admissibility of evidence concerning

         Benlida’s relationship with Sinosure is controlled by the standard rules of evidence, including

         Rule 403, under which the exclusion of relevant evidence “is an extraordinary remedy that

         should be used sparingly and only after looking at the evidence in the light most favorable to its

         admission.” Id. at 1303 (quotation marks omitted).

                    Benlida makes no effort to satisfy this heavy burden. It fails to even reference Rule 403.

         Mot. at 8-9. Instead, it cites several cases that simply decline to reduce or offset damages awards

         by the amounts plaintiffs received from independent sources. See Camps v. Bravo, No. 1:20-CV-

         24294, 2023 WL 4996937, at *7 (S.D. Fla. July 11, 2023) (declining to reduce damages award



                                                                          18
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         based on plaintiffs’ receipt of “compensation from the Argentine government”); F.D.I.C. v. Prop.

         Transfer Servs., Inc., No. 12-80533-CV, 2013 WL 5535561, at *17 n.31 (S.D. Fla. Oct. 7, 2013)

         (“The FDIC’s damages shall not be offset by the insurance benefits.”). These cases are

         inapplicable because CTX is not seeking to introduce evidence regarding Benlida’s relationship

         with Sinosure to reduce or offset any claimed damages.

                   Likewise, Benlida finds no support in Southern v. Plumb Tools, A Division. of O’Ames

         Corporation, 696 F.2d 1321, 1323 (11th Cir. 1983), because the Eleventh Circuit distinguished

         Southern in ML Healthcare on grounds applicable here. In ML Healthcare, the court held that

         Southern, which construed Alabama law, did not apply because Alabama’s collateral source rule

         was “an all-or-nothing proposition,” unlike Georgia’s rule. ML Healthcare, 881 F.3d at 1301.

         Because Florida and Georgia law, as discussed above, both permit the admission of evidence

         concerning benefits received from collateral sources under some circumstances, Southern does

         not apply here either.

                   For similar reasons, Benlida’s reliance on Cowley v. Sunset Yacht Charters, Inc., No. 10-

         61928-CIV, 2011 WL 13394805, at *1 (S.D. Fla. July 22, 2011), is unavailing. Cowley relied

         primarily on Southern to exclude evidence concerning payments the plaintiff received from a

         “health and disability insurer.” Id. Given ML Healthcare’s subsequent limitation of Southern,

         Cowley, which has not been cited by any other court, is inapplicable here as well. Additionally,

         Cowley narrowly concerned evidence of insurance payments received from an insurer, whereas

         the relevant evidence here involves the broader relationship and communications between

         Benlida and Sinosure, which are probative of CTX’s damages, the distinction between CTX and

         CTX-HK, and the lack of credibility of Benlida’s accounting practices, regardless of any

         payments that Benlida has received from Sinosure.



                                                                          19
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  Case 0:21-cv-60125-RNS Document 202 Entered on FLSD Docket 08/22/2023 Page 21 of 22




                   Moreover, as ML Healthcare recognized, “the potential for prejudice” arising from the

         admission of evidence concerning Sinosure can “easily be[] mitigated” and does not warrant its

         exclusion. Id. at 1303. While Benlida does not identify any specific form of potential prejudice,

         it presumably is concerned that the jury will conclude from evidence of its receipt of insurance

         payments that it has been compensated and thus reduce its damages award. But a limiting

         instruction on that issue, in accordance with Florida’s statutory abrogation of the collateral

         source rule, would be more than sufficient to eliminate any risk of undue prejudice. Id. The

         collateral source rule, therefore, provides no basis for excluding evidence concerning Sinosure in

         this action.

                                                                CONCLUSION


                             For the foregoing reasons, the Court should deny Benlida’s motion and allow the

         objected-to evidence to be introduced at trial.


         Dated: August 22, 2023                                        Respectfully submitted,



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                                                     CERTIFICATE OF SERVICE

                   I HEREBY CERTIFY that a true copy of the foregoing has been served via transmission

         of Notices of Electronic Filing generated by CM/ECF on August 22, 2023 as filed with the Clerk of

         the Court using CM/ECF.

                                                                                 By: /s/ Stephen F. Rosenthal
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                                                                          21
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